      Case: 1:24-cv-08087 Document #: 62 Filed: 11/25/24 Page 1 of 2 PageID #:374




                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

 Hainan Changyuan Technology Co., Ltd.
     Plaintiff,                                         Case No.: 1:24-cv-08087

 v.                                                     Judge Sunil R. Harjani

 THE PARTNERSHIPS AND                                   Magistrate Judge Sheila M. Finnegan
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED IN SCHEDULE “A”,
    Defendants




                                       STATUS REPORT

        Pursuant to the Court's Order dated 10/8/2024 (DE 33), and subsequently the Court's

further order, Plaintiff hereby attaches a spreadsheet identifying the parties where further

litigation is anticipated, where settlement is anticipated, for whom default is now due, and parties

to be dismissed without prejudice.

        Unbeknown to the Court, Plaintiff did not file a motion for entry of default and default

judgment by November 13, 2024 because Plaintiff was still awaiting information from one of the

platforms, that being AliExpress. AliExpress did not comply with the TRO and provide

information on the stores listed under AliExpress on the Schedule A. Rather than further delay

these proceedings, Plaintiff has decided to release those defendants without prejudice, and likely

pursue them in another filing (if they continue their infringing actions).
    Case: 1:24-cv-08087 Document #: 62 Filed: 11/25/24 Page 2 of 2 PageID #:375




       Following this Status Report, if the Court will allow, Plaintiff will file the motion for

entry of default and default judgment within several days of this Status Report.

 DATED: November 25, 2024                                      Respectfully Submitted:



                                                               Robert M. DeWitty
                                                               Attorney for Plaintiff
                                                               1500 K Street, 2nd Floor
                                                               Washington DC 20005
                                                               Tel: 202-571-7070
                                                               Email: rmdewitty@dewittyipcom
                                                               admin@dewittyip.com
